     Case 5:17-cv-00069-EKD Document 1 Filed 07/28/17 Page 1 of 13 Pageid#: 1



                                                                        7/28/2017
                    IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
                             HARRISONBURG DIVISION
                                               5:17CV00069
HEADHUNTER, LLC,                     Case No. ____________________


              Plaintiff,             COMPLAINT

        vs.                          COPYRIGHT (17 U.S.C. §101)

DOES 1-9,

              Defendants.

               COMPLAINT FOR COPYRIGHT INFRINGEMENT

        Plaintiff, Headhunter, LLC (“Headhunter”), by and through its undersigned

counsel, for and as its Complaint against Defendants, alleges as follows:

                              JURISDICTION AND VENUE

1.      This is a civil action seeking damages and injunctive relief for copyright

infringement under the Copyright Law of the United States (17 U.S.C. §101 et

seq.). As set forth in greater detail below, this action involves the unauthorized

acquisition, copying and distribution of the copyrighted motion picture A Family

Man (2017) (“A Family Man” herein) by each Defendant.

2.      This Court has jurisdiction under 17 U.S.C. §101 et seq.; 28 U.S.C. §1331

(federal question); and 28 U.S.C. §1338(a) (copyright).

3.      Upon information and belief, each defendant resides in this Division or in

this Judicial District.
     Case 5:17-cv-00069-EKD Document 1 Filed 07/28/17 Page 2 of 13 Pageid#: 2




4.      On information and belief, personal jurisdiction in this District is proper

because each Defendant, without consent or permission of Plaintiff as exclusive

rights owner, within this District, reproduced, distributed and offered to distribute

among others over the Internet the copyrighted A Family Man, owned by

Plaintiff. Plaintiff has used geolocation technology to trace the Internet Protocol

(“IP”) address of each Defendant to a point of origin within this District. On

information and belief, each Defendant has an IP address based in this District

and resides in or committed copyright infringement in this District.

5.      In the alternative, this Court has personal jurisdiction over non-resident

Defendants, if any, under the Virginia long-arm statute, Va. Code § 8.01-328.1,

because they downloaded copyrighted content from or uploaded it to Virginia

residents located in this District, thus committing a tortious act within the

meaning of the statute.

6.      Venue in this District is proper under 28 U.S.C. §1391(b) and/or 28 U.S.C.

§1400(a). Although the true identity of each Defendant is unknown to Plaintiff at this

time, on information and belief, each Defendant resides in this District, may be found

in this District and/or a substantial part of the acts of infringement complained of

herein occurred in this District.




                                           2
     Case 5:17-cv-00069-EKD Document 1 Filed 07/28/17 Page 3 of 13 Pageid#: 3




                                     THE PARTIES

                                    THE PLAINTIFF

7.      Plaintiff Headhunter is a Nevada Limited Liability Company with principal

offices in Los Angeles, California and an affiliate of Voltage Pictures, a

production company with a notable catalog of award winning major motion

pictures. www.voltagepictures.com.

8.      Plaintiff is the owner of the copyright and/or the pertinent exclusive rights

under copyright in the United States in A Family Man, which has been unlawfully

distributed over the Internet by Defendants.

                                  THE DEFENDANTS

9.      The Defendants identified herein as Does 1-9 are currently known by their

respective Internet Protocol (“IP”) addresses that were each observed by Plaintiff’s

investigator, Maverickeye, (www.maverickeye.de) as distributing Plaintiff’s motion

picture.

10.     Through geolocation, the IP addresses used by the Defendants have been

traced to the State of Virginia and this judicial district.

11.     Each Defendant has been observed and confirmed as distributing Plaintiff’s

motion picture and other copyrighted content persistently and consistently on

hundreds of occasions over an extended period of several months.

12.     In addition to Plaintiff’s motion picture A Family Man, certain of the Doe


                                               3
  Case 5:17-cv-00069-EKD Document 1 Filed 07/28/17 Page 4 of 13 Pageid#: 4




Defendants have been observed and confirmed to be actively distributing: Mr.

Church (2016); London Has Fallen (2016); I am Wrath (2016); Cell (2016 );

Criminal (2016); Mechanic: Resurrection (2016); IT (2017); Boyka: Undisputed

(2017); Vengeance: A Love Story (2017); and other copyrighted titles.

13.   The Defendants’ IP addresses have been observed associated with the

distribution of over 50 other copyrighted titles.

14.   The volume of activity and titles associated with each Defendant’s IP

address indicates that each Defendant is likely the primary subscriber or someone

who resides with the subscriber as such activity indicates each Defendant is an

authorized user of the IP address with consistent and permissive access.

15.   The volume of activity and titles associated with Defendants’ IP addresses

indicates that no Defendant is a young child.

16.   More than 30 days prior to filing the present suit certain of the Defendants

were sent one or more notices pursuant to 17 U.S.C. 512(a), a/k/a DMCA Notice,

informing such Defendants of the wrongful nature of their conduct and requesting

they terminate their infringing activity.

17.   Despite such notice certain Defendants persisted in infringing the rights of

Plaintiff and others, including the repeated selection, download and distribution of

new content in violation of the Copyright Act and continues to do so as of the

filing of this Complaint.


                                            4
  Case 5:17-cv-00069-EKD Document 1 Filed 07/28/17 Page 5 of 13 Pageid#: 5




18.   Each Defendant’s IP address was at that time of observed infringement

managed by Internet Service Provider (“ISP”) Comcast, who on information and

belief generally assigns an IP address to a single party for extended periods of

time, often for months, and provides Wi-Fi systems with notable pre-installed

security and passwords.

19.   Each Defendant’s ISP provides notices and information to its customers

about the importance of security, informing them that they are responsible for the

activity associated with their account and cautioning subscribers against allowing

third party or non-authorized access.

20.   The records maintained by the ISP should be able to identify either each

Defendant, or the subscriber who contracted with the ISP for service who in turn

is likely to have knowledge that will lead to the identity of the Defendants.

Plaintiff intends to seek discovery, including issuing a subpoena for records from

the ISP to ascertain the true identity of each Defendant.

21.   The true name of each Defendant is unknown to Plaintiff at this time. Plaintiff

knows defendants only by the Internet Protocol (“IP”) address assigned by their

Internet Service Provider and the date and the time at which the infringing activity of

each Defendant was observed.        Plaintiff believes that information obtained in

discovery will lead to the identification of Defendants’ true names and will permit

Plaintiff to amend this Complaint to state the same. Plaintiff further believes that


                                            5
   Case 5:17-cv-00069-EKD Document 1 Filed 07/28/17 Page 6 of 13 Pageid#: 6




additional information obtained will lead to the identification of additional infringing

parties, as monitoring of online infringement of A Family Man is ongoing.

                             ALLEGATIONS.

22.   A Family Man is a motion picture set for theatrical release in July 2017

about a man torn between his profession as a corporate headhunter and his

loyalties and love for his family.

23.   A Family Man, produced under the working title A Headhunter’s Calling, is

protected by the Copyright Act and registrations including TXu001967832, Oct.

16, 2015 and PA 002039392, January 27, 2017. Exhibit A.

24.   Under The Copyright Act, Headhunter is the proprietor of copyrights and

related interest needed to bring suit.

25.   A Family Man contains wholly original material that is copyrightable

subject matter under the laws of the United States.

26.   Defendants had notice of plaintiff’s rights through general publication and

advertising and more specifically as identified in the content of A Family Man,

advertising associated therewith and copies, which bore a proper copyright notice.

27.   Headhunter comes to court seeking relief as the motion picture A Family

Man, is being pirated and trafficked in the BitTorrent network and is being

illegally downloaded and distributed countless times worldwide with many

confirmed instances of infringing activity traced to the Eastern District of Virginia.


                                            6
  Case 5:17-cv-00069-EKD Document 1 Filed 07/28/17 Page 7 of 13 Pageid#: 7




28.   The Defendants are currently known by an assigned Internet Protocol (“IP”)

address that was observed by Plaintiff’s investigator, Maverickeye, as distributing

A Family Man.

29.   Through geolocation, the IP addresses used by the Defendants have been

traced to the Commonwealth of Virginia and this judicial district.

             PEER-TO-PEER INTERNET PIRACY IN GENERAL

                                      Operation

30.   BitTorrent, also known as peer-to-peer file sharing, has become one of the

most common systems for users to illegally dispense and share huge amounts of

data in digital format, including motion pictures.

31.   The BitTorrent protocol enables computers to exchange large files (such as

motion pictures) without creating a heavy workload for any individual

source/computer. It allows users to interact directly with each other to: (1) make

files stored on a user’s computer (e.g., motion pictures) available for copying by

other users; (2) search for files stored on other computers; and (3) transfer exact

copies of files from one computer to another over the Internet.

32.   The use of BitTorrent requires multiple intentional acts. A user must load

specific software, use the software to join the network, search for a file, and then

select the file they wish to download. As each user or peer joins the network and

requests a copy of a file, they form a type of social contract to not only download


                                           7
  Case 5:17-cv-00069-EKD Document 1 Filed 07/28/17 Page 8 of 13 Pageid#: 8




the file, but to be a part of the network to allow the file to be downloaded by

others. Each new peer requesting the file receives pieces of the data from each

peer who already has downloaded the file, and then in turn makes that content

available to others.

33.   Since the BitTorrent protocol also generally limits a peer’s ability to

download unless he or she also uploads or shares, there is substantial incentive for

each peer to remain online and continue to make files available for other peers to

download because this will maximize his or her download speed and access to

additional content.

34.   The Defendants in this action have been observed as making A Family Man

available to others in furtherance of the BitTorrent network.

                               The Business of Piracy

35.   Internet piracy and in particular BitTorrent piracy, though known as peer-

to-peer file sharing, is often a for-profit business as many software clients, torrent

sites and networks generate millions of dollars in revenue through sales and

advertising.

36.   To increase the value of the advertising and sometimes subscription access

sold by torrent sites, many parties work to expand the pool of available titles and

speed of downloads available by increasing the number of member peers and thus

the desirability of their clients and networks. To accomplish this they often


                                           8
   Case 5:17-cv-00069-EKD Document 1 Filed 07/28/17 Page 9 of 13 Pageid#: 9




reward participants who contribute by giving them faster download speeds, greater

access, or other benefits.

37.   Defendants’ participation in the BitTorrent exchange of A Family Man is

the type of activity that torrent sites use to promote their business and likely

directly furthered the for-profit business of at least one torrent site.

38.   Many parties, and possibly on or more of the Defendants, have been

compensated for their participation in expanding the availability of pirated content

to others through BitTorrent networks, including A Family Man, even if only

through being granted greater access to other pirated content.

39.   The use of BitTorrent does more than cause harm through the simple theft

of intellectual property. The BitTorrent distribution of pirated files is a model of

business that profits from theft through sales and advertising and provides a

system of rewards and compensation to the participants, each of whom contribute

to and further the enterprise.

40.   Based on activity observed associated with the Defendants’ IP addresses,

one or more of the Defendants are prolific proponents of the BitTorrent

distribution system advancing the BitTorrent economy of piracy.

                             Harm to Plaintiff and Others

41.   Digital piracy, including BitTorrent piracy costs the entertainment industry

over $80 billion per year.


                                             9
 Case 5:17-cv-00069-EKD Document 1 Filed 07/28/17 Page 10 of 13 Pageid#: 10




42.   As noted by Senator Levin in Congressional hearings on peer-to-peer

Internet piracy, “In the world of copyright law, taking someone’s intellectual

property is a serious offense, punishable by large fines.        In the real world,

violations of copyright law over the Internet are so widespread and easy to

accomplish that many participants seem to consider it equivalent to jaywalking –

illegal but no big deal. But it is a big deal. Under U.S. law, stealing intellectual

property is just that – stealing. It hurts artists, the music industry, the movie

industry, and others involved in creative work. And it is unfortunate that the

software being used – called ‘file sharing’ as if it were simply enabling friends to

share recipes, is helping create a generation of Americans who don’t see the

harm.”

43.   Nationwide the film and television industry supports over 1.9 million

workers and contributes over $19.3 billion in taxes.

44.   The citizens of Virginia have a vested interest in protecting copyrights and

in particular fighting against piracy of film content as the industry provides over

12,300 direct jobs and $632 million in wages to its citizens.        See generally,

http://www.film.virginia.org; http://www.mpaa.org/jobs-economy/.

45.   The impact of piracy is far greater than the mere loss of a single sale or loss

due to the distribution of one copy of a motion picture. Piracy undermines the

economy, job base, and tax base on which our citizens rely and promotes a general


                                           10
 Case 5:17-cv-00069-EKD Document 1 Filed 07/28/17 Page 11 of 13 Pageid#: 11




disregard for the rights of others and the law.

46.   As such it is clear that giving effect to 17 U.S.C. §§ 101 et seq., and the

enforcement of intellectual property rights, and in particular the fight against

counterfeiting and piracy are critical issues of importance to the both the United

States of America and the State of Virginia.



                                      COUNT I

                         COPYRIGHT INFRINGEMENT

47.   Plaintiff incorporates by reference each and every allegation set forth in the

preceding paragraphs.

48.   Defendants, without the permission or consent of Plaintiff, copied and

distributed A Family Man through a public BitTorrent network.

49.   Defendants’ actions infringed Plaintiff’s exclusive rights under The

Copyright Act.

50.   The conduct of Defendants have been with notice, willful, intentional, in

disregard of and indifferent to Plaintiff’s rights with the intent to cause Plaintiff

harm and deprive Plaintiff of royalties and the benefit of Plaintiff’s copyrights.

51.   As a direct and proximate result of the Defendants’ conduct, Plaintiff’s

exclusive rights under 17 U.S.C. § 106 have been violated.

52.   Plaintiff is entitled to damages pursuant to 17 U.S.C. § 504 and attorney


                                            11
 Case 5:17-cv-00069-EKD Document 1 Filed 07/28/17 Page 12 of 13 Pageid#: 12




fees and costs pursuant to 17 U.S.C. § 505.

53.   The conduct of Defendants is causing and, unless enjoined and restrained

by this Court, will continue to cause Plaintiff great and irreparable injury.

54.   Pursuant to 17 U.S.C. §§ 502 and 503, Plaintiff is entitled to injunctive

relief prohibiting Defendants from further contributing to the infringement of

Plaintiff’s copyrights, the economy of piracy, and ordering that Defendants

destroy all copies of A Family Man made in violation of Plaintiff’s rights.

                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for judgment against each Defendant and

relief as follows:

      A.   For a finding each Defendant willfully infringed Plaintiff’s rights;

      B.   For entry of permanent injunction enjoining each Defendant from direct,

           indirect or contributory infringement of Plaintiff’s rights, except pursuant

           to a lawful license or with the express authority of Plaintiff. And further

           directing each Defendant to destroy all unauthorized copies of A Family

           Man;

      C.   For entry of permanent injunction enjoining each Defendant from

           supporting the BitTorrent economy of piracy by enjoining each

           Defendant from direct, indirect or contributory infringing file sharing in

           violation of U.S. copyright law;


                                            12
 Case 5:17-cv-00069-EKD Document 1 Filed 07/28/17 Page 13 of 13 Pageid#: 13




     D.   Damages pursuant to 17 U.S.C. § 504;

     E.   For Plaintiff’s reasonable costs and attorney fees pursuant to 17 U.S.C. §

          505; and

     F.   For such other and further relief as the Court deems proper.



                          DEMAND FOR JURY TRIAL

      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff

demands a trial by jury



DATED: July 28, 2017                 Respectfully submitted,


                                     By:         /s/Dale R. Jensen
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                                           13
